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                     I N THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION

LORENA BALDELAMAR,                                   Civil Action No.

  Plaintiff,                                         4:15-CV-00209-HLM-WEJ

                                                     JURY TRIAL DEMANDED

JEFFERSON SOUTHERN
CORPORATION,

   Defendant.


                               PRETRIAL ORDER

                                          1.

      There are no motions or other matters pending for consideration by the court
except as noted:

      No motions are currently pending. However, the parties anticipate that
each of them may file one or more motions in limine.



       A l l discovery has been completed, unless otherwise noted, and the court will
not consider any further motions to compel discovery. (Refer to LR 37.1B).
Provided there is no resulting delay in readiness for trial, the parties shall,
however, be permitted to take the depositions of any persons for the preservation
of evidence and for use at trial.


       The parties do not require any further discovery.




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                                         3.

       Unless otherwise noted, the names of the parties as shown in the caption to
this Order and the capacity in which they appear are correct and complete, and
there is no question by any party as to the misjoinder or non-joinder of any parties.

       The names of the parties are correct as shown in the caption above.

                                         4.

       Unless otherwise noted, there is no question as to the jurisdiction of the
court; jurisdiction is based upon the following code sections. (When there are
multiple claims, list each claim and its jurisdictional basis separately.)

     This Court has jurisdiction over Plaintiffs claims for and retaliation in
accordance with 28 U.S.C. § 1331.

                                         5.

      The following individually-named attorneys are hereby designated as lead
counsel for the parties:

Plaintiff:

Taylor J Bennett
Georgia Bar No. 664063
Attorney for Plaintiff
B A R R E T T & FARAHANY, L L P
1100 Peachtree St.
Suite 500
Atlanta, GA 30309
Defendants:

Tracy L . Moon, Jr.
Georgia Bar No. 518050
Attorney for Defendant
Fisher Phillips L L P

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1075 Peachtree St.
Suite 3500
Atlanta, G A 30309

Other Parties: (specify)

None.
                                           6.

      Normally, the plaintiff is entitled to open and close arguments to the jury.
(Refer to LR39.3(B)(2)(b)). State below the reasons, i f any, why the plaintiff
should not be permitted to open arguments to the juiy.

     Defendants have no objection to Plaintiff opening                     and closing
arguments to the jury in accordance with L R 39.3(B)(2)(b).

                                           7.

        The captioned case shall be tried to a jury.

                                           8.

       State whether the parties request that the trial to a jury be bifurcated, i.e. that
the same jury consider separately issues such as liability and damages. State briefly
the reasons why trial should or should not be bifurcated.

        The parties do not request bifurcation ofthe issues.

                                           9.

       Attached hereto as Attachment " A " and made a part of this order by
reference are the questions which the parties request that the court propound to the
jurors concerning their legal qualifications to serve.

                                           10.

       Attached hereto as Attachment " B - l " are the general questions which
plaintiff wishes to be propounded to the jurors on voir dire examination.


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      Attached hereto as Attachment "B-2" are the general questions which
defendant wishes to be propounded to the jurors on voir dire examination.

       Attached hereto as Attachment "B-3", "B-4", etc. are the general questions
which the remaining parties, i f any, wish to be propounded to the jurors on voir
dire examination.

       Not applicable.

      The court, shall question the prospective jurors as to their address and
occupation and as to the occupation of a spouse, i f any. Counsel may be permitted
to ask follow-up questions on these matters. It shall not, therefore, be necessary
for counsel to submit questions regarding these matters. The determination of
whether the judge or counsel will propound general voir dire questions is a matter
of courtroom policy which shall be established by each judge.

                                           11.

       State any objections to plaintiffs voir dire questions:


       State any objections to defendants' voir dire questions:


       State any objections to the voir dire questions of the other parties, i f any:

       Not applicable.

                                            12.

       A l l civil cases to be tried wholly or in part by jury shall be tried before a jury
consisting of not less than six (6) members, unless the parties stipulate otherwise.
The parties must state in the space provided below the basis for any requests for
additional strikes. Unless otherwise directed herein, each side as a group will be
allowed the number of peremptory challenges as provided by 28 U.S.C. § 1870.
See Fed. R. Civ. P. 47(b).



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      The parties agree that there is no need for additional strikes.

      Plaintiff requests that the case by tried by a jury of six (6) with two
alternates to be dismissed once deliberations begin.

                                          13.

      State whether there is any pending related litigation.         Describe briefly,
including style and civil action number.

      Defendant is currently being sued by a former employee, whom is also
represented by Plaintiffs counsel, for alleged violation of 42 U.S.C. § 1981
and retaliation. (BuUington v. Jefferson Southern Corporation 4:16-cv-00245-
HLM-WEJ)

                                          14.

       Attached hereto as Attachment "C" is plaintiffs outline of the case which
includes a succinct factual summary of plaintiffs cause of action and which shall
be neither argumentative nor recite evidence. A l l relevant rules, regulations,
statutes, ordinances, and illustrative case law creating a specific legal duty relied
upon by plaintiff shall be listed under a separate heading. In negligence cases,
each and every act of negligence relied upon shall be separately listed. For each
item of damage claimed, plaintiff shall separately provide the following
information: (a) a brief description of the item claimed, for example, pain and
suffering; (b) the dollar amount claimed; and (c) a citation to the law, rule,
regulation, or any decision authorizing a recovery for that particular item of
damage. Items of damage not identified in this manner shall not be recoverable.

                                          15.

         Attached hereto as Attachment " D " is Defendants' outline ofthe case which
includes a succinct factual summary of all general, special, and affirmative
defenses relied upon and which shall be neither argumentative nor recite evidence.
A l l relevant rules, regulations, statutes, ordinances, and illustrative case law relied
upon as creating a defense shall be listed under a separate heading. For any
counterclaim, Defendants shall separately provide the following information for
each item of damage claimed: (a) a brief description of the item claimed; (b) the


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dollar amount claimed; and (c) a citation to the law, rule, regulation, or any
decision authorizing a recovery for that particular item of damage. Items of
damage not identified in this manner shall not be recoverable.

                                                    16.

       Attached hereto as Attachment "E" are the facts stipulated by the parties. No
further evidence will be required as to the facts contained in the stipulation and the
stipulation may be read into evidence at the beginning of the trial or at such other
time as is appropriate in the trial of the case. It is the duty of counsel to cooperate
fully with each other to identify all undisputed facts. A refusal to do so may resuh
in the imposition of sanctions upon the non-cooperating counsel.

                                                    17.

       The legal issues to be tried are as follows:

       Plaintiff's Legal issues:

                 (1) Whether Plaintiff was retaliated against for reporting sexual

                     harassment and participating in a sexual harassment investigation?

                 (2) Whether Plaintiff is entitled to recover attorneys' fees and/or costs.

       Defendants' Legal Issues:

            1.      Whether Defendant retaliated against Plaintiff when it terminated

                    her on July 30, 2015 in violation of Title V I I and, i f so, to what

                    relief is Plaintiff entitled.

           2.       Whether Plaintiff can prove that Defendant's reasons for

                    terminating her are a pretext for unlawful retaliation.

           3.       Whether Plaintiff mitigated her alleged damages.


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                                      18.

      Attached hereto as Attachment "F-1" for the plaintiff, Attachment "F-
2" for the defendant, and Attachment "F-3", etc. for all other parties is a list
of all the witnesses and their addresses for each party. The list must
designate the witnesses whom the party will have present at trial and those
witnesses whom the party may have present at trial. Expert (any witness who
might express an opinion under Rule 702), impeachment and rebuttal
witnesses whose use as a witness can be reasonably anticipated must be
included. Each paity shall also attach to the list a reasonable specific
summary of the expected testimony of each expert witness.

       A l l ofthe other parties may rely upon a representation by a designated
party that a witness will be present unless notice to the contrary is given ten
(10) days prior to trial to allow the other party(s) to subpoena the witness or
to obtain the witness' testimony by other means. Witnesses who are not
included on the whness list (including expert, impeachment and rebuttal
witnesses whose use should have been reasonably anticipated) w i l l not be
permitted to testify, unless expressly authorized by court order based upon a
showing that the failure to comply was justified.

                                      19.

       Attached hereto as Attachment "G-1" for the plaintiff, "G-2" for the
defendants, and "G-3", etc. for all other parties are the typed lists of all
documentary and physical evidence that will be tendered at trial. Learned
treatises which are expected to be used at trial shall not be admitted as
exhibits. Counsel are required, however, to identify all such treatises under a
separate heading on the party's exhibit list.

      Each paity's exhibits shall be numbered serially, beginning with 1,
and without the inclusion of any alphabetical or numerical subparts.
Adequate space must be left on the left margin of each party's exhibit list for
court stamping purposes. A courtesy copy of each party's list must be
submitted for use by the judge.

      Prior to trial, counsel shall mark the exhibits as numbered on the
attached lists by affixing numbered yellow stickers to plaintiff's exhibits,


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numbered blue stickers to defendant's exhibits, and numbered white stickers
to joint exhibits. When there are multiple plaintiffs or defendants, the
surname of the particular plaintiff or defendant shall be shown above the
number on the stickers for that party's exhibits.

      Specific objections to another party's exhibits must be typed on a
separate page and must be attached to the exhibit list of the party against
whom the objections are raised. Objections as to authenticity, privilege,
competency, and, to the extent possible, relevancy of the exhibits shall be
included. Any listed document to which an objection is not raised shall be
deemed to have been stipulated as to authenticity by the parties and shall be
admitted at trial without further proof of authenticity.

        Unless otherwise noted, copies rather than originals of documentary
evidence may be used at trial. Documentary or physical exhibhs may not be
submitted by counsel after filing of the pretrial order, except upon consent of
all the parties or permission of the court. Exhibits so admitted must be
numbered, inspected by counsel, and marked with stickers prior to trial.
        Counsel shall familiarize themselves with all exhibits (and the
numbering thereof) prior to trial. Counsel will not be afforded time during
trial to examine exhibits that are or should have been listed.

      Objections to the exhibits are attached to the exhibit list of the
party or parties against whom the objections are raised.

                                        20.

       The following designated portions of the testimony of the persons
listed below may be introduced by deposition:

         Plaintiff designates the following depositions to be introduced at
Trial:
            1.   Jefferson Southern Corporation's 30(b)(6);
            2.   Ray Wright;
            3.   Sheri Price;
            4.   DeannaHall;




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      Any objections to the depositions of the foregoing persons or to any
questions or answers in the depositions shall be filed in writing no later than
the day the case is first scheduled for trial. Objections not perfected in this
manner will be deemed waived or abandoned. A l l depositions shall be
reviewed by counsel and all extraneous and unnecessary matter, including
non-essential colloquy of counsel, shall be deleted. Depositions, whether
preserved by stenographic means or videotape, shall not go out with the jury.

                                         21.

      Attached hereto as Attachments " H - 1 " for the plaintiff, "H-2" for the
defendant, and "H-3", etc. for other parties, are any trial briefs which
counsel may wish to file containing citations to legal authority concerning
evidentiary questions and any other legal issues which counsel anticipate
will arise during the trial of the case. Limitations, i f any, regarding the
format and length of trial briefs is a matter of individual practice which shall
be established by each judge.

      The parties may file trial briefs according to the preferences of
the Court at a later date.

                                      22.

      In the event this is a case designated for trial to the court with a jury,
requests for charge must be submitted no later than 9:30 a.m. on the date on
which the case is calendared (or specially set) for trial. Requests which are
not timely filed and which are not otherwise in compliance with LR 51.1,
NDGa will not be considered. In addition, each party should attach to the
requests to charge a short (not more than one (1) page) statement of that
party's contentions, covering both claims and defenses, which the court may
use in its charge to the jury.

      Counsel are directed to refer to the latest edition of the Eleventh
Circuit District Judges Association's Pattern Jury Instructions and Devitt and
Blackmar's Federal Jury Practice and Instructions in preparing the requests
to charge. For those issues not covered by the Pattern Instructions or Devitt


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and Blackmar, counsel are directed to extract the applicable legal principle
(with minimum verbiage) from each cited authority.

      The parties will submit their respective requests for charge as
directed by the Court.

                                       23.

       I f counsel desire for the case to be submitted to the jury in a manner
other than upon a general verdict, the form of submission agreed to by all
counsel shall be shown in Attachment " I " to this Pretrial Order. I f counsel
cannot agree on a special form of submission, parties will propose their
separate forms for the consideration of the court.

        Plaintiffs proposed verdict form is attached as Exhibit I - l .

        Defendants' proposed verdict form is attached as Exhibit 1-2.

                                      24.

       Unless otherwise authorized by the court, arguments in all jury cases
shall be limited to one-half hour for each side. Should any party desire any
additional time for argument, the request should be noted (and explained)
herein.

       Not applicable.
                                      25.

        I f the case is designated for trial to the court without a jury, counsel
are directed to submit proposed fmdings of fact and conclusions of law not
later than the opening of trial.

       Not applicable.

                                      26.

      Pursuant to L R 16.3, lead counsel and persons possessing settlement
authority to bind the parties met on multiple occasions prior to the close of

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discovery, to discuss in good faith the possibility of settlement of this case.
The court (        ) has or ( X ) has not discussed settlement of this case
with counsel. It appears at this time that there is:

                                   A good possibility of settlement.
                    (_     J
                    (_JL)          Some possibility of settlement.
                    (      )       Little possibility of settlement.
                    (          )   No possibility of settlement.

                                          27.

      Unless otherwise noted, the court will not consider this case for a
special setting, and it will be scheduled by the clerk in accordance with the
normal practice of the court.

        Not necessary.

                                    28.

      The plaintiff estimates that it will require 2-3 days to present its
evidence. The defendant estimates that it will require 1-2 days to present its
evidence. It is estimated that the total trial time is 3-5 days.

                                    29.

       IT IS HEREBY ORDERED that the above constitutes the pretrial
order for the above captioned case ( X        ) submitted by stipulation of the
parties or (    ) approved by the court after conference with the parties.

       IT IS FURTHER ORDERED that the foregoing, including the
attachments thereto, constitutes the pretrial order in the above case and that
it supersedes the pleadings which are hereby amended to conform hereto and
that this pretrial order shall not be amended except by Order of the court to
prevent manifest injustice. Any attempt to reserve a right to amend or add to
any part of the pretrial order after the pretrial order has been filed shall be
invalid and of no effect and shall not be binding upon any party or the court,
unless specifically authorized in writing by the court.



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       Each of the undersigned counsel for the parties hereby consents to
entry of the foregoing pretrial order, which has been prepared in accordance
with the form pretrial order adopted by this court.

/s/Tavlor J Bennett
Georgia Bar No. 664063
Attorney for Plaintiff
BARRETT & FARAHANY, LLP
 1100 Peachtree St.
Suite 500
Atlanta, GA 30309
(404)214-0120
(404) 214-0125 facsimile
taylor(S!justiceatwork.com


/s/Edward N . Boehm. Jr.
Georgia Bar No 183411
Attorney for Defendant
Fisher & Phillips LLP
1075 Peachtree St.
Suite 3500
(404) 240-4286
(404) 240-4249 facsimile
Atlanta, GA 30309




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